sl Case 1:21-cr-00058-BAH Document 11 Filed 02/01/21 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 28, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-002
BRANDON HARGRAVES, : VIOLATION:
: 18 U.S.C. § 922(g)(1)
Defendant. : (Unlawful Possession of a Firearm and

Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a
Term Exceeding One Year)

FORFEITURE: 18 U.S.C. § 924(d),
21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c)

INDICTME N T
The Grand Jury charges that:
COUNT ONE

On or about December 31, 2020, within the District of Columbia, BRANDON
HARGRAVES, knowing he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, in the Superior Court for the District of Columbia,
Criminal Case No. 2013-CF3-009223, did unlawfully and knowingly receive and possess a
firearm, that is, a Taurus PT809, 9mm semi-automatic pistol, and did unlawfully and knowingly
receive and possess ammunition, that is, 9mm and .22 caliber ammunition, which had been
possessed, shipped and transported in and affecting interstate and foreign commerce.

(Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime

Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
United States Code, Section 922(g)(1))
Case 1:21-cr-00058-BAH Document 11 Filed 02/01/21 Page 2 of 2

FORFEITURE ALLEGATION

I. Upon conviction of the offense alleged in Count One of this Indictment, the
defendant shall forfeit to the United States, pursuant to Title 18. United States Code, Section 924(d)
and Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in or
used in the knowing commission of the offense, including but not limited to a Taurus PT809, 9mm
semi-automatic pistol and 9mm and .22 caliber ammunition.

2. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property that cannot be subdivided without

difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

A TRUE BILL:

FOREPERSON.

Aidet Vad Bre

Attorney of the United States in
and for the District of Columbia.

Ww
